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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

    FINANCIAL INFORMATION
    TECHNOLOGIES, LLC,

           Plaintiff,

    v.                                       CASE NO. 8:17-cv-00190-T-23MAP

    ICONTROL SYSTEMS, USA, LLC,

           Defendant.
                                      /

                                   NOTICE OF APPEAL

           Notice is hereby given that Plaintiff Financial Information Technologies, LLC

    (“Fintech”) hereby appeals to the United States Court of Appeals for the Eleventh

    Circuit this Court’s Order denying Fintech’s Renewed Motion for Permanent

    Injunction entered in this action on October 30, 2020 [Doc. 298].

    Dated: November 16, 2020.

                                                    Respectfully submitted,

                                                    /s/ Catherine H. Molloy
                                                    Richard C. McCrea, Jr.
                                                    Florida Bar No. 351539
                                                    Email: mccrear@gtlaw.com
                                                    Catherine H. Molloy
                                                    Florida Bar No. 33500
                                                    Email: molloyk@gtlaw.com
                                                    GREENBERG TRAURIG, P.A.
                                                    101 E. Kennedy Boulevard
                                                    Suite 1900
                                                    Tampa, Florida 33602
                                                    Telephone: (813) 318-5700
                                                    Facsimile: (813) 318-5900
                                                    Attorneys for Plaintiff



    ADMIN 37852622v1
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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on November 16, 2020, I electronically filed the

    foregoing with the Court by using the CM/ECF system, which will send a notice of

    electronic filing to:

                                    Robert L. Rocke, Esq.
                                    rrocke@rmslegal.com
                                   Jonathan B. Sbar, Esq.
                                     jsbar@rmslegal.com
                                   Andrea K. Holder, Esq.
                                   aholder@rmslegal.com
                                ROCKE, McLEAN & SBAR, P.A.
                                   2309 S. MacDill Avenue
                                    Tampa, Florida 33629

                               Jeffrey S. Bucholtz (Pro Hac Vice)
                              Paul Alessio Mezzina (Pro Hac Vice)
                                    KING & SPALDING LLP
                            1700 Pennsylvania Avenue NW, Suite 200
                                     Washington, DC 20006

                                                   /s/ Catherine H. Molloy
                                                                 Attorney




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